            I N T H E DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:11 CR 36-5


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                  ORDER
                                       )
BRITTNEY LYNN MOORE.                   )
                                       )
______________________________________ )

      THIS CAUSE came on to be heard and was heard before the undersigned on

January 5, 2012, pursuant to an Order (#128)entered by the court continuing the

release of the defendant on terms and conditions of presentence release. At the call

of this matter on for hearing it appeared that the defendant was present with her

attorney, Fredilyn Sison and the government was present and represented through

Assistant United States Attorney Don Gast.

      At the hearing that occurred on January 5, 2012, upon questioning by the court,

Ms. Sison advised that defendant had completed the oral surgery which had been

previously scheduled for her. Defendant’s father who was going to take custody of

defendant’s minor child has contracted cancer, but the defendant has made

arrangements with her mother to provide care for the child.

      After hearing arguments of counsel for the defendant and the government, the

undersigned now finds that exceptional reasons no longer exist meriting the continued

release of defendant pending sentencing. As a result, the undersigned will enter an



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order revoking the terms and conditions of presentence release previously entered in

this matter and will enter an order detaining defendant.



                                      ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of

presentence release in this matter are hereby REVOKED and defendant is placed in

the custody of the U.S. Marshal pending sentencing and other proceedings in this

matter.



                                          Signed: January 9, 2012




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